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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION


MASS ENGINEERED DESIGN, INC.,                             Case No. 3:16-cv-01510-SI

             Plaintiff,                                   PLANAR SYSTEMS, INC.’S OPENING
                                                          BRIEF REGARDING ONGOING
      v.                                                  ROYALTY

PLANAR SYSTEMS, INC.,                                     [AUTHORIZED TO BE FILED
                                                          UNDER SEAL PURSUANT TO
             Defendant.                                   PROTECTIVE ORDER]




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I.     Introduction

       Pursuant to the Court’s Order in ECF No. 413 directing “the parties shall file

simultaneous response briefs [on a reasonable ongoing royalty] on October 12, 2018,” Planar

Systems, Inc. (“Planar”) hereby submits its Response Brief Regarding Ongoing Royalty,

responsive the Plaintiff Mass Engineered Design, Inc.’s (“Mass”) filing styled “Plaintiff’s

Opening Brief on a Reasonable Ongoing Royalty Rate” (ECF No. 415).

II.    Argument

       Mass’s opening arguments are fatally flawed in multiple manners, such that adopting

Mass’s royalty proposal amounts to nothing more than an invitation for remand and further

proceedings.

       In the first fatal flaw, Mass ignored a century-old mandate of the Supreme Court

requiring that a patentee “must” submit evidence apportioning damages between infringing and

non-infringing features of the accused products. Because Mass failed to meet its burden of

proof, regarding apportionment, the only competent evidence is that put forward by Planar,

suggesting that the Court set a royalty rate of 0.5% for the of the value of the alleged “wrap-

around” arm for most products, and 1.5% of the arm value for the triple monitor stand.

       In Mass’s second fatal flaw, Mass relied heavily on the assumption that Planar is a willful

infringer, even though the Supreme Court’s recent Halo v. Pulse decision inherently overruled

the case law on which Mass based that assumption. Since Halo reworked the willful

infringement analysis, it is now clear that a verdict of infringement does not transform a knowing

infringer into a willful infringer, especially where the knowing infringer does not try to conceal

its infringement. Yet, despite this, Mass relies on no-longer-applicable case law to support its

claim for enhanced royalties.

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          Mass’s third fatal flaw is relying upon an improper expert report that is so late and so full

of improper analysis that the report should be struck (as set forth in the motion to strike that is

being filed contemporaneously with this document). Without this improper expert report, Mass

is left with only facts related to the pre-verdict hypothetical negotiation that would have occurred

eight to ten years ago. Mass does not base its request on post-verdict considerations as is

required.

          Mass’s final fatal flaw is failing to update its analysis of the hypothetical negotiation and

the related Georgia-Pacific factors to account for the current factual situation. Mass ignored the

trial testimony and relied upon an incomplete summary suggesting that the facts have not

significantly changed since 2010. As pointed out in Planar’s opening brief, however, many of

the factors have significantly changed since 2010, rendering Mass’s cursory review less than

useful.

          While Mass’s analysis is significantly flawed and fails to apply either the facts or the

relevant legal authorities, Planar’s opening brief (ECF No. 416) demonstrates that a proper

royalty would be 0.5% of the arm value for most products and 1.5% of the arm value for the

triple monitor stand. Using the only figures in the record that demonstrate the cost of the arms of

the accused products, this would result in a per unit royalty of $0.03 for dual monitor stands,

$0.06 for quad monitor stands, and $0.09 for triple monitor stands.

          A.     Mass Failed to Apportion Damages

          As Planar stated in its opening brief (ECF 416 p. 13 et seq.) and also states in its motion

to strike Mr. Bratic’s declaration (to be filed the same day as this brief), Mass did not put

forward any evidence or analysis apportioning damages between the features of the ‘331 patent

and the unpatented features of the accused products. However, unless the patent to be licensed is

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the sole driver of demand for the accused products, the patentee “must in every case give

evidence tending to separate or apportion the defendant’s profits and the patentee’s damages

between the patented feature and the unpatented features.” Power Integrations, Inc. v. Fairchild

Semiconductor Int’l., Inc., 894 F.3d 1258, 1270 (Fed. Cir. 2018) (quoting Garretson v. Clark,

111 U.S. 120, 121 (1884)). In this case, the ‘978 patent expired in 2016, well before the post-

verdict hypothetical negotiation. Mass argued at trial that the ‘978 patent was the “flagship”

patent, driving demand for the accused products. (See, e.g., ECF No. 416 pp. 13-14

(summarizing testimony)). Since 2016, all of the features of the ‘978 patent that allegedly drove

demand have been in the public domain and not subject to any royalty. Kimble v. Marvel Entm’t,

LLC, 135 S. Ct. 2401, 2405 (2015) (“[A] patent holder cannot charge royalties for the use of his

invention after its patent term has expired.”). Thus, because the ‘331 patent is not the sole driver

of demand for the patented products, Mass was required to apportion damages for the post-

verdict hypothetical negotiation, but did not. Thus, Mass’s arguments and evidence, if accepted

will lead to an ongoing royalty finding that invites remand and further proceedings.

          On the other hand, Planar pointed to some evidence, albeit limited evidence that suggests

that the apportioned value of the arms in the accused products is about $6 for dual monitor stands

and about $12 for quad monitor stands. (See ECF No. 416 pp. 15-16). Planar also pointed to a

hypothetical negotiation showing that the value of the ‘331 patent is minimal for Planar’s dual

and quad stands, but has slightly higher value for the triple monitor stands. (See id. at p. 19).

Based on this information incorporated into a post-verdict hypothetical negotiation, Planar

showed that the ongoing royalty should be set at 0.5% of the apportioned value for the dual and

quad monitor stands and 1.5% of the apportioned value for the triple monitor stands. (See id. at

p. 31).
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       This would result in a per unit royalty of (0.005 X $6.00, or) $0.03 for dual monitor

stands, (0.005 X $12.00, or) $0.06 for quad monitor stands, and (0.015 X $6.00,1 or) $0.09 for

triple monitor stands.

       Because Mass failed to meet its burden of proof regarding apportioned damages, the

Court should adopt the only evidence of record and set the per unit royalty rates at $0.03, $0.06,

and $0.09 as further detailed in the preceding sentence.

       B.      Mass Incorrectly Assumes That Planar Should be Deemed a Willful
               Infringer

       Mass incorrectly relies heavily on outdated legal principles for a presumption that Planar

should be deemed a willful infringer and, therefore, an enhanced royalty should be assessed.

However, the case law on which Mass relies was upended when the Supreme Court issued the

Halo decision in June 2016. Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016). In

Halo, the Supreme Court overturned the Federal Circuit’s test for willful infringement and stated

that it was reverting to the “‘sound legal principles’ developed over nearly two centuries” that

“limit[] the award of enhanced damages to egregious cases of misconduct beyond typical

infringement.” Id. at 1935. In this case, Planar was tested twice by juries to determine if its

conduct was egregious. Both juries refused to find that Planar exhibited egregious misconduct

beyond typical infringement.

       At least two district courts (one, with a Federal Circuit judge sitting by designation) have

considered the impact of Halo on the ongoing royalty analysis. Both have reached well-reasoned

explanations of why a jury verdict of infringement should not alone lead to an assumption of


   1
    Neither party introduced evidence of the apportioned value of the arms in the triple
monitor stand. Thus, for purposes of this analysis, Planar has assumed that they are
approximately the same as the dual monitor stand arms.
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willful infringement or an enhanced ongoing royalty. In the first such opinion, Judge Bryson of

the Federal Circuit, sitting as a trial judge by designation, specifically questioned the

applicability of pre-Halo cases (including specifically identifying the Mondis case cited by Mass)

with respect to the assumption that post-verdict infringement was willful. Erfindergemeinschaft

UroPep GbR v. Eli Lilly & Co., No. 2:15-cv-1202-WCB, 2017 U.S. Dist. LEXIS 111425 at *36

and *36 n. 2 (E.D. Tex. July 18, 2017) (noting that “the Halo decision counsels against” an

assumption that post-verdict infringement is willful). And Judge Bryson also pointed out that

“the entry of a verdict and judgment does not justify recharacterizing [defendant’s] post-verdict

behavior as ‘wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or – indeed

– characteristic of a pirate.’” Id. at *34 (citing Halo). Rather, Judge Bryson reasoned,

                  Although [defendant] nows know that a jury has found its conduct to be
                  infringing, [defendant] has not committed any new acts deserving of enhanced
                  punishment. [Defendant] has merely continued its previous conduct with the
                  reasonable belief that [plaintiff] would not seek an injunction and in
                  circumstances in which [defendant] would be required to pay any ongoing royalty
                  to which [plaintiff] is entitled… And because [plaintiff] has in fact not sought an
                  injunction, there is no apparent reason that [plaintiff] would want [defendant] to
                  cease its infringing conduct at this point.

Id. at *34-*35.

       Planar notes that Judge Bryson did award an enhanced ongoing royalty in the

Erfindergemeinschaft case. However, the royalty was not enhanced due to assumed willfulness.

Rather, as Judge Bryson noted that one side’s expert witness found that defendant’s post-verdict

profit margins would be “5.2 times as high” and the other estimated that profits would be “twice

as high” as the pre-verdict period. Id. at *38. Thus, when Judge Bryson analyzed the post-

verdict hypothetical negotiation, he found, “Because [the] expert concluded that the profit

margin for the post-verdict period would be approximately twice that of the pre-verdict


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infringement period, … the Court accepts that increase …” and therefore doubled the royalty

rate. Id. at *39. The enhanced royalty rate was not due to inferring willful infringement.

       The Erfindergemeinschaft reasoning is consistent with another post-Halo opinion, i.e.,

Wisconsin Alumni Research Found. v. Apple, Inc., 261 F. Supp. 3d 900 (W.D. Wis. 2017)

(“WARF”), reversed on other grounds by 2018 U.S. App. LEXIS 27664 (Fed. Cir. Sept. 28,

2018). In WARF, the Court noted,

               … the court rejects WARF’s attempt to describe Apple’s infringement post-jury
               verdict as willful… Rather, Apple reasonably believed that the court would not
               enter a permanent injunction … and instead would award an ongoing royalty
               based on a hypothetical negotiation – an expectation shared by this Court. Given
               this context, Apple knew that it was going to have to pay for its continued use of
               the infringing technology, unlike a willfully infringing party who hopes to conceal
               its knowing infringement.

Id. at 922. Mass, however, did not consider the import or impact of either of these well-reasoned

post-Halo opinions, even though Mass cited the Erfindergemeinschaft case for the bare

proposition that ongoing royalties should be enhanced. (See ECF No. 415 p. 13).

       The final post-Halo opinion cited by Mass is the 2017 Arctic Cat opinion. Artic Cat Inc.

v. Bombardier Rec. Prods., no. 14-cv-62369, 2017 U.S. Dist. LEXIS 1607 (S.D. Fla. Jan. 3,

2017). Arctic Cat does not inform our situation because Arctic Cat involved a defendant that the

jury determined to be a willful infringer (unlike Planar); a brief look at the related Federal Circuit

opinion confirms that the jury found that infringement was willful, so the district court trebled

damages for the pre-verdict period. See, e.g., Artic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d

1350, 1371 (Fed. Cir. 2017) (discussing treble damages for willful infringement). Thus, as noted

in the district court’s opinion, the royalty awarded by the district court was actually “$307.62 per

infringing unit.” Artic Cat Inc., 2017 U.S. Dist. LEXIS 1607 at *7. In view of the $307.62 pre-

verdict royalty, the “ongoing royalty rate of $205.08 per infringing unit” (id. at *14) was lower

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than the amount awarded by the court for pre-verdict infringement. And the court awarded this

lower amount even though the jury found pre-verdict willful infringement. Thus, in a post-Halo

case, even where willful infringement was present, the court reduced the post-judgment royalty.

        As demonstrated above, for post-Halo consideration of potential “enhanced damages” the

Supreme Court held that “such punishment should generally be reserved for egregious cases

typified by willful misconduct.” Halo, 136 S. Ct. at 1934. Here, there is no willful misconduct

by Planar. From the verdict until September 11, 2018, Planar reasonably believed that it owed

no further damages after trial. See, e.g., ECF No. 405 (Planar’s brief explaining why it believed

that the jury had compensated Mass for all infringement). On September 11, the Court informed

Planar that Mass is entitled to an ongoing royalty for future infringement, and that the Court

would set a royalty after briefing. ECF No. 413 p. 12. Thus, Planar is currently selling products

with the knowledge that any infringing products will be subject to this ongoing royalty and will

be licensed, not infringing. Thus, there has been no post-verdict period in which Planar’s

conduct could have been deemed “egregious” or “willful misconduct.”

        For these reasons, Mass’s suggestion of an enhancement for willfulness is misplaced.



        Mass also argues that the Court should consider the Read factors for enhanced damages.

(See ECF No. 415 p. 13-14). This is incorrect because the Court would first need to have a basis

for finding Planar to be a willful infringer, which does not exist. The clear jury verdict is that

Planar did not willfully infringe either of Mass’s patents prior to the date of that verdict, i.e., July

11, 2018. (ECF No. 391). To the extent that the Read factors should be implicated at all – which

they should not – the proper application of those factors would look at post-verdict conduct.

However, at least one opinion cited by Mass noted that “many of [the Read] factors are not well-
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suited for analyzing future willful infringement, as the factors were designed to analyze a party’s

willful infringement in the past.” Mondis Tech., Ltd. v. Chimei Innolux Corp., 822 F. Supp. 2d

639, 652-653 (E.D. Tex. 2011). That opinion quoted Read v. Portec for the proposition that “the

paramount determination in deciding to grant enhancement and the amount thereof is the

egregiousness of the defendant’s conduct…” Id. at 653. There is no “egregiousness” in Planar’s

conduct.

       Despite this, Mass suggests that Read factor one (copying) should be evaluated based on

a meeting that took place in 2007 and a vague suggestion that Planar’s supplier copied an

infringing product. However, as extensive testimony in the July trial in this case demonstrated,

Highgrade had designed its products and shipped samples to Planar by December 2007 (see, e.g.,

ECF No. 392 (jury notes)), but the Ergotron DS-100 product referenced by Mass was not

determined to be infringing until November 19, 2008. (See ECF No. 660 (jury verdict) in E.D.

Tex. Case no. 2:06-cv-272). Thus, even if one assumes copying (which was not established), at

the time of the assumed copying, Highgrade had no indication that the product would later be

found to infringe. Moreover, trial testimony established that Mr. Moscovitch told Planar that the

DS-100 infringed his patents and Planar dropped the DS-100 and had a different product offering

within months. (Testimony didn’t identify why, but one can’t assume copying where a company

stops selling a product as soon as it is informed of infringement.) Moreover, even if Highgrade

were assumed to have copied Mass’s ideas (which it did not), Highgrade made the product at the

request of Vizio, not Planar. (July 9 trial transcript p. 166:2-24). And the product design started

in January 2007, before Highgrade was even aware of Planar. (July 9 trial transcript p. 167:16-

168:1). Assuming arguendo that Highgrade copied a product, the Read factor asks whether

Planar (not Highgrade) copied; Planar did not.
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       Turning to the second Read factor, Mass assumes that a jury verdict shows that a party

cannot claim to have a reasonable belief of non-infringement or invalidity. In

Erfindergemeinschaft, Judge Bryson noted that the jury verdict does not negate defendant’s good

faith belief in invalidity. Ergindergemeinschaft, 2017 U.S. Dist. LEXIS 111425 at *31. Judge

Bryson also noted the pending motion for JMOL and expressed intent to appeal. Id. Planar has

repeatedly expressed intent to appeal and intent to file post-judgment motions. Planar could not

file such appeal or motions without a good faith belief that it will prevail. See, e.g., Fed. R. Civ.

P. 11; Fed. R. App. P. 38.

       Read factor three, the infringer’s behavior as a party to the litigation, does not favor

enhanced damages. As the Court already noted during trial, “I don’t think the litigation conduct

on either side has been inappropriate.” (July 12 Trial Transcript p. 671:6-7).

       Regarding Read factor four, Planar does not dispute that it is able to weather a verdict,

but “size and financial condition … does not by itself support [a] contention that [defendant] has

engaged in conduct deserving of an enhanced royalty award.” Ergindergemeinschaft, 2017 U.S.

Dist. LEXIS 111425 at *32.

       Mass misconstrues the fifth Read factor, i.e., the “closeness of the case,” because it is

wholly unfavorable to Mass. A jury verdict does not demonstrate that a case was not close.

Rather, Planar filed motions for summary judgment on both infringement and validity, and raised

close defenses at trial on both issues as well as inequitable conduct. Additionally, the jury

deliberated for 2 ½ days before reaching a verdict (see, e.g., Trial Transcript p. 1836:6-11),

starting deliberations at 9:35 am on May 4 (Trial Transcript p. 1774:11) and returning a verdict

on the afternoon of May 8. The length of deliberations themselves demonstrate the closeness of

the issues and the amount of time that the jury needed to come to agreement.
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       Read factor six, duration of misconduct, weighs in Planar’s favor, because the Court

indicated only one month ago, on September 11, that the jury verdict did not cover both past and

future infringement.

       As to Read factor seven, Mass again misconstrues the facts, assuming that Planar should

have taken remedial action upon learning of the verdict. However, as noted above, until the

Court’s order on September 11, Planar believed that the jury verdict covered all infringement

past and present, consistent with the jury instructions. On September 11, the Court informed the

parties that it would award an ongoing royalty, so there was no need to remedy a situation where

a reasonable ongoing royalty would be assessed. (As noted by Judge Bryson in

Erfindergemeinschaft, many of the Read factors are not suited for post-verdict analysis.)

       Regarding Read factor eight, “defendant’s motivation for harm,” Planar never had any

intent to harm Mass, nor does it have such intent now.

       Regarding Read factor nine, i.e., attempted concealment, Planar never concealed its sales.

In fact, it advertised the accused products on its website.

       While Planar posits that it is not even appropriate to review the Read factors, because

there is no basis for finding Planar to be a willful infringer, even if the Court does consider the

Read factors, a review of the nine factors shows that almost every factor weighs against

enhancement of the ongoing royalty.

       C.      Mass Relies Heavily on an Expert Report That Should be Struck

       Mass’s proposed analysis of a post-verdict hypothetical negotiation should be largely

disregarded because it relies almost exclusively on portions of a declaration by Mr. Bratic (i.e.,

ECF No. 415-2) that should be struck for numerous reasons. To avoid repetitive briefing, Planar

notes that Planar is filing a motion to strike Mr. Bratic’s declaration concurrently with this brief.

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The arguments of the motion to strike Mr. Bratic’s declaration are incorporated by reference into

this submission (rather than repeated herein) to spare the Court and the parties the burden of re-

reading the same arguments multiple times. However, the points raised in the motion regarding

the failures of Mr. Bratic’s analysis are directly relevant to Mass’s improper post-verdict

hypothetical negotiation analysis.

       Because Mass’s analysis is based almost entirely on a declaration that should be struck,

Mass is left with little argument or evidence that would tend to establish the royalty that Mass

requests. And, in fact, though Mass cites paragraph 5 of Mr. Bratic’s declaration at least 18

times at pages 9-10 of ECF No. 415 (using page numbering applied by ECF system), Mr. Bratic

states that paragraph 5 is a summary of his prior opinions regarding the “hypothetical negotiation

in or about March 2008,” and is not an assessment of post-verdict circumstances. (See ECF No.

415-2 at ¶5 (preamble)). Thus, that paragraph, while potentially useful to the jury at trial, does

not address the post-verdict circumstances related to an ongoing royalty.

       D.      Mass Failed to Update the Hypothetical Negotiation as Required by the
               Federal Circuit

       Mass’s ongoing royalty analysis should be disregarded or heavily discounted, because

Mass failed to consider the post-verdict change in circumstances beyond what Mass

characterizes as its “far stronger bargaining position.” The Federal Circuit has been clear that

“[P]ost-verdict factors should drive the ongoing royalty rate calculation in determining whether

such a rate should be different from the jury’s rate.” XY, LLC v. Trans Ova Genetics, L.C., 890

F.3d 1282, 1297 (Fed. Cir. 2018) (explaining “The later jury would necessarily be focused on

what a hypothetical negotiation would look like after the prior infringement verdict.”); Arctic Cat

Inc. v. Bombardier Rec. Prods. Inc., 876 F.3d 1350, 1370 (Fed. Cir. 2017) (“Ongoing royalties


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may be based on a postjudgment hypothetical negotiation using the Georgia-Pacific factors.”).

However, Mass largely cites evidence related to what Mass characterizes as the “2008”2

hypothetical negotiation.

       Mass’s brief regarding the ongoing royalty cites to two sources of information. At pages

6, 7 n. 2, 8, and 11, Mass cites trial transcripts that relate to a hypothetical negotiation that would

have occurred years ago. Mass’s other evidentiary citations are to Mr. Bratic’s declaration that

either (as noted above) relate to a hypothetical negotiation in 2008 or that should be struck for

the reasons outlined in Planar’s motion to strike.

       Mass’s analysis, however, ignores many of the changes to the Georgia-Pacific factors

that are discussed in Planar’s brief of September 28, at sections IV C 1 through IV C 15. (ECF

No. 416). That discussion shows that the post-verdict hypothetical negotiation should result in

an ongoing royalty that is much lower than the rates suggested by Mass.

       Though Mass is correct in stating that the starting point for the ongoing royalty should be

the evidence at trial and the jury’s determination, Mass errs on its analysis of both. First, with

respect to the evidence at trial, Mass ignored the evidence of the changes that would affect a

post-verdict hypothetical negotiation. That evidence is detailed in Planar’s discussion of the

Georgia-Pacific factors in its September 28 brief (ECF No. 416). Second, with respect to the

“jury’s determination,” Mass makes erroneous and unfounded assumptions to suggest that the

jury awarded a high royalty rate for the ‘331 patent.




   2
    The parties seem to have a slight disagreement as to whether the pre-verdict hypothetical
negotiation would have taken place in 2008, when the accused products were initially sold or in
2010, when Planar first received notice of the ‘978 patent. That dispute is irrelevant for
purposes of assessing the ongoing royalty, because regardless of the pre-verdict date, it was 8
or 10 years ago, and circumstances have changed in the past decade.
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       Without any basis, Mass argues that “the jury clearly rejected” Planar’s non-infringing

substitute theory at trial.3 But, if anything, the amount of the jury verdict shows that it is just as

probable that the jury awarded a nominal (0.26%) royalty rate for the ‘331 patent as it is that the

jury awarded the 3.5% or 2.88% royalty that Mass assumes based on conjecture. To clarify this,

note that Mass assumes that the jury either (a) awarded the full 3.5% royalty that Mass requested

for the ‘331 patent, or (b) discounted both royalty rates equally to arrive at a 2.88% royalty for

the ‘331 patent. (See ECF No. 415 p. 15 n. 5 (showing Mass’s calculation of the 2.88%

royalty)). However, equally as likely as scenario (a) is the possibility that the jury awarded the

full 5.9% royalty that Mass requested for the ‘978 patent that Mass touted to the jury as its

“flagship” patent. In this scenario that Mass did not analyze, the jury would have awarded

$1,130,141 (of the total $1,150,000) for infringement of the ‘978 patent. (See ECF No. 415-2 at

¶ 11 (Mr. Bratic stating that damages for the ‘978 patent were $1,130,141)). This award of the

full royalty for the ‘978 patent would have left only $19,859 in damages attributable to the ‘331

patent, i.e., $1,150,000 - $1,130,141 = $19,859. This is only 7.3% of the $269,541 in damages

that Mr. Bratic requested for the ‘331 patent. (See ECF No. 415-2 at ¶ 11 (showing request for

$269,541 in damages for the ‘331 patent)). Applying that 7.3% to the 3.5% royalty rate

requested by Mr. Bratic would result in the realization that the jury might have applied a 0.26%

royalty rate for the ‘331 patent (i.e., 0.073 X 3.5% = 0.26%).




   3
     Planar notes that in more than one instance in ECF No. 415, Mass states that Planar or its
expert “conceded” or “agreed with” Mass’s royalty rate proposal or that the jury rejected
Planar’s proposal. While those arguments are incorrect, they are also largely irrelevant to the
issues faced in this briefing. Planar notes its objection to those characterizations, so that it will
not be deemed to have agreed with them by silence. But because those issues are not related to
the issues being discussed herein, Planar will not waste the Court’s time by briefing the
reasoning for its objection herein.
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        As noted above, because only the jury knows how the damages award should be broken

down between the two patents, this scenario is just as probable as the two scenarios proposed by

Mass. Thus, if the Court attempts to start with the jury’s determination, the Court should

consider the 0.26% royalty rate to be equally as probable as the 3.5% rate and to be equally as

probable at the 2.88% rate. And in fact, the jury could have used any royalty rate ranging from

0% to 3.5% (or even a dollar amount per unit) for the ‘331 patent. The fact is that we don’t

know what royalty the jury chose for the ‘331 patent. Thus, even though the Court should

normally start with the jury determination, such a starting point is not presented here. Therefore,

it is necessary to look at the relevant Georgia-Pacific factors to see if they suggest a royalty rate.

As set forth in Planar’s opening brief (ECF No. 416), at least factors 1, 8, and 15 suggest royalty

rates. Applying the full set of Georgia-Pacific factors to those suggested rates results in the

conclusion set forth at section V of Planar’s opening brief (ECF No. 416) and in the conclusion,

below, of this brief.

III.    Mass’s Requests for Pre-Judgment Royalties and Accountings

        Mass seems to make two unrelated motions in what was purportedly a brief addressing

ongoing royalties pursuant to the Court’s order in ECF No. 413. While it does not appear that

such requests are properly before the Court in view of the unmet meet-and-confer requirement of

Local Rule 7-1(a) and the “separately stated motion” requirement of Local Rule 7-1(b) (i.e.,

“Motions may not be combined with any … other pleading.”), Planar does not contest that relief

of this type is generally permitted to patentees in some form. However, Planar does object to the

form in which Mass requests the relief.

        First, with respect to a pre-judgment royalty, contrary to Mass’s conjecture, the jury did

not leave any clue as to whether it awarded a 3.5% royalty or a 0.26% royalty (as explained

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above) for the ‘331 patent, or some other amount. In view of the jury’s silence on this issue and

Mass’s failure to seek jury clarification before releasing the jury, Planar requests that any pre-

judgment royalty on sales between March 31, 2018 and May 8, 2018 be set at the specific dollar

amounts requested below, to avoid future disputes regarding profitability, apportionment, costs

of sales, etc. In the alternative, because it is Mass who seeks the royalty after waiving its ability

to seek jury clarification, it would be proper to employ the royalty assumption favorable to

Planar and set the interim royalty rate at 0.26%.

       Second, with respect to an accounting, Planar requests that any reports be (a) required no

more frequently than quarterly and (b) required only to contain numbers of units sold on a

product-by-product basis, because the sales price not be useful in view of the required

apportionment. With respect to item (b), Planar notes that it has requested a royalty of a specific

dollar amount per unit based on the apportioned value of the feature of the ‘331 patent. Because

royalties must be apportioned, requiring pricing or profit information will not provide any

indication of the actual royalty due. Thus, the most efficient manner of reporting for purposes of

avoiding future disputes is to provide the number of units sold and multiply that number by the

number of cents per unit that is due as a royalty.

IV.    Conclusion

       Mass failed to carry its burden of proving the amount of a properly apportioned ongoing

royalty. Based on this, a proper remedy would be to award Mass a nominal royalty (e.g., $1 for

all future infringement). However, the evidence and analysis put forward by Planar would

support an ongoing royalty of 0.5% of the arm value for most products and 1.5% of the arm

value for triple monitor stands. The only figures in the record that demonstrate the cost of the

arms of the accused products are those put forward by Planar, showing that the dual monitor

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stand arms cost approximately $6 to manufacture and that the amount is doubled for quad

monitor stands. (One might assume that triple monitor stand arms are somewhere in the same

range; although, neither party introduced evidence regarding this.) This would result in a per

unit royalty of (0.005 X $6.00, or) $0.03 for dual monitor stands, (0.005 X $12.00, or) $0.06 for

quad monitor stands, and (0.015 X $6.00, or) $0.09 for triple monitor stands.

       Accordingly, with respect to the ‘331 patent, Planar requests that the Court set an

ongoing royalty no higher than $0.03 per stand for dual monitor stands, $0.06 per stand for quad

monitor stands, and $0.09 per stand for the triple monitor stands. (Setting an actual amount

rather than a percentage is the most reasonable way to assess such a royalty to avoid disputes

between the parties regarding computation of amounts based on a percentage.)


       Dated: October 12, 2018
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